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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                               )       Chapter 11
                                                     )       Case No. 01-01139 (JKF)
W.R. GRACE & CO., et al.,                            )       (Jointly Administered)
                                                     )
                          Debtors.                   )

          DRAFT ORDER OF WITNESSES AND ESTIMATED TIME OF DIRECT
             EXAMINATION OF ZURICH INSURANCE COMPANY AND
                  ZURICH INTERNATIONAL (BERMUDA) LTD.

          In accordance with paragraph 3 of the Fourth Amended Case Management Order Related

to the First Amended Joint Plan of Reorganization [D.I. 22819] dated August 17, 2009, Zurich

Insurance Company and Zurich International (Bermuda) Ltd. (jointly, “Zurich”), by and through

its undersigned counsel, hereby submits the following proposed order of its witnesses and

respective estimates of time of direct examination for the Phase II Confirmation Hearing:

Order of                                        Witness                      Estimated Time
Witnesses1                                                                       of Direct
                                                                              Examination2
     1.         George Priest                                               15 minutes3
     2.         James B. Shein                                              15 minutes4
     3.         A records custodian of Zurich (live or via declaration)     Unknown
     4.         Any witnesses designated and/or called by any other party   Unknown
     5.         Any witness(es) necessary in rebuttal to any evidence or Unknown
                argument made at or before the Confirmation Hearing that is
                or may be contrary to the interests of Zurich




1
   Zurich reserves the right to change the order of the witnesses based on subsequent developments prior to and
during the Phase II Confirmation Hearing.
2
  Zurich reserves the right to exceed the estimated time of direct examination of the witnesses based on subsequent
developments prior to and during the Phase II Confirmation Hearing.
3
  This is in addition to any direct examination by other parties who are relying on Mr. Priest’s testimony.
4
  This is in addition to any direct examination by other parties who are relying on Mr. Shein’s testimony.
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        In accordance with the Pre-Trial Submission Of Zurich Insurance Company And Zurich

International (Bermuda) Ltd. [D.I. 22535], this Draft Order of Witnesses and Estimated Time of

Direct Examination is submitted without prejudice to the designation or presentation of any and

all additional witnesses that Zurich may deem necessary.



Dated: August 20, 2009              CONNOLLY BOVE LODGE & HUTZ LLP


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